
62 So. 3d 759 (2011)
In re Jason C. KUCZEK.
No. 11-OB-1133.
Supreme Court of Louisiana.
June 3, 2011.

ORDER
Considering the Petition for Transfer to Disability Inactive Status filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Jason C. Kuczek, Louisiana Bar Roll number 32046, be and he hereby is transferred to disability inactive status pursuant to Supreme Court Rule XIX, § 22(B). Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
/s/ Jeannette Theriot Knoll
/s/ Justice, Supreme Court of Louisiana
